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 6
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 7
                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10
     MARIA ARCHILA,                            Case No.:
11
                  Plaintiff,                   COMPLAINT AND DEMAND FOR
12                                             JURY TRIAL
13
           vs.
                                               (Unlawful Debt Collection Practices)
14
     JOHN C. BONEWICZ, P.C.; and               Demand Does Not Exceed $10,000
15   DOES 1 to 10, inclusive,
16                Defendants.
17
18                                    COMPLAINT
19
                                    INTRODUCTION
20
21         1.     This is an action for actual and statutory damages brought by
22   plaintiff MARIA ARCHILA, an individual consumer, against defendant JOHN
23
24
     C. BONEWICZ, P.C. (hereinafter referred to as “JOHN C. BONEWICZ, P.C.”

25   or “Defendant”) for violations of the Fair Debt Collection Practices Act, 15
26
     U.S.C. § 1692 et seq. (hereinafter “FDCPA”), which prohibit debt collectors
27
28   from engaging in abusive, deceptive, and unfair practices.

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 1                           VENUE AND JURISDICTION
 2         2.     Jurisdiction of this court arises under 28 U.S.C. § 1331 and § 1337.
 3
     Venue in this District is proper in that the Defendant transacts business here and
 4
 5   the conduct complained of occurred here.
 6
                                          PARTIES
 7
 8         3.     Plaintiff MARIA ARCHILA is a natural consumer allegedly
 9
     obligated to pay any debt, residing in Inglewood, Los Angeles County, California
10
11   90303.
12         4.     Defendant JOHN C. BONEWICZ, P.C. is an professional
13
     corporation engaged in the business of collecting debt in this state, located at 350
14
15   North Orleans Street, Chicago, Illinois 60654. The principal purpose of
16
     Defendant is the collection of debts in this state and Defendant regularly attempts
17
18   to collect debts alleged to be due another.
19
           5.     Defendant is engaged in the collection of debts from consumers
20
21   using the mail and telephone. Defendant regularly attempts to collect consumer
22   debts alleged to be due to another. Defendant is a ‘‘debt collector” as defined by
23
     the FDCPA, 15 U.S.C. § 1692a(6), and the Cal. Civ. Code § 1788.2.
24
25   \\\
26
     \\\
27
28   \\\

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 1                                         FACTS
 2         6.     Upon information and belief, within one year prior to the filing of
 3
     this complaint, Defendant placed collection calls to Plaintiff, seeking and
 4
 5   demanding payment for an alleged consumer debt owed under an account
 6
     number.
 7
 8         7.     Defendant constantly and continuously calls Plaintiff on Plaintiff’s
 9
     mobile telephone number from telephone number 224-534-8030 to annoy her and
10
11   with such frequency as to be unreasonable and to constitute harassment.
12         8.     On Wednesday, April 24, 2013, Defendant’s agent, “George Diaz,”
13
     threatened to garnish Plaintiff’s wages if Plaintiff did not make a payment of
14
15   $600.00 by Friday, April 26, 2013.
16
           9.     Defendant is a debt collector, and as a debt collector attempting to
17
18   collect an alleged debt, Defendant can only refer the matter back to the creditor
19
     with a recommendation that the original creditor attempt legal proceedings which
20
21   could result in garnishment.
22         10.    Defendant engaged in false and deceptive means by failing to
23
     meaningfully disclose its identity.
24
25         11.    Defendant’s actions have caused Plaintiff to suffer emotional
26
     distress, stress, humiliation, and anxiety, among other negative emotions.
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                                    COMPLAINT FOR DAMAGES
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 1          12.   The natural consequences of Defendant’s statements and actions
 2   were to produce an unpleasant and/or hostile situation between Defendant and
 3
     Plaintiff.
 4
 5                                  COUNT I – FDCPA
 6
            13.   Plaintiff repeats and realleges and incorporates by reference the
 7
 8   foregoing paragraphs.
 9
            14.   Defendant violated the FDCPA. Defendant’s violations include, but
10
11   are not limited to the following:
12                i)     15 U.S.C. §1692d(5);
13
                  ii)    15 U.S.C. §1692e(2)(A);
14
15                iii)   15 U.S.C. §1692e(10);
16
                  iv.)   15 U.S.C. §1692f.
17
18          15.   Section 1692d(5) states in pertinent part that:
19
            A debt collector may not engage in any conduct the natural
20          consequence of which is to harass, oppress, or abuse any person in
21          connection with the collection of a debt. Without limiting the general
            application of the foregoing, the following conduct is a violation of this
22          section:
23          …
            (5) Causing a telephone to ring or engaging any person in telephone
24
            conversation repeatedly or continuously with intent to annoy, abuse, or
25          harass any person at the called number.
26
            16.   Sections 1692e(2)(A) and e(10) state in pertinent part that:
27
28          A debt collector may not use any false, deceptive, or misleading
            representation or means in connection with the collection of any debt.
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 1         Without limiting the general application of the foregoing, the following
           conduct is a violation of this section:
 2         …
 3         (2) The false representation of—
           (A) the character, amount, or legal status of any debt.
 4
           …
 5         (10) The use of any false representation or deceptive means to collect
 6         or attempt to collect any debt or to obtain information concerning a
           consumer.
 7
 8         17.   Section 1692f states in pertinent part that:
 9
           A debt collector may not use any unfair or unconscionable means to
10         collect or attempt to collect any debt.
11
                                 COUNT II – RFDCPA
12
13         18.   Plaintiff incorporates paragraphs 1 – 17.
14
           19.   Defendant thereby violated the following provisions of the
15
16   RFDCPA:
17               i)     Cal. Civ. Code § 1788.11(d);
18
                 ii)    Cal. Civ. Code § 1788.11(e);
19
20               iii)   Cal. Civ. Code § 1788.13(j);
21
                 iii)   Cal. Civ. Code § 1788.17.
22
23         20.   Sections 1788.11(d) and (e) state in pertinent part that:
24
           No debt collector shall collect or attempt to collect a
25         consumer debt by means of the following practices:
26         …
           (d) Causing a telephone to ring repeatedly or continuously to
27         annoy the person called; or
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 1         (e) Communicating, by telephone or in person, with the debtor with
           such frequency as to be unreasonable and to constitute an harassment
 2         to the debtor under the circumstances.
 3
           21.   Section 1788.13(j) states in pertinent part as follows:
 4
 5         No debt collector shall collect or attempt to collect a consumer debt by
 6         means of the following practices:
           …
 7         (j) The false representation that a legal proceeding has been, is about
 8         to be, or will be instituted unless payment of a consumer debt is made.
 9
           22.   Section 1788.17 states in pertinent part as follows:
10
11         Notwithstanding any other provision of this title, every debt collector
           collecting or attempting to collect a consumer debt shall comply with
12         the provisions of Sections 1692b to 1692j, inclusive, of, and shall be
13         subject to the remedies in Section 1692k of, Title 15 of the United
           States Code. However, subsection (11) of Section 1692e and Section
14
           1692g shall not apply to any person specified in paragraphs (A) and
15         (B) of subsection (6) of Section 1692a of Title 15 of the United States
16         Code or that person's principal. The references to federal codes in this
           section refer to those codes as they read January 1, 2001.
17
18                               PRAYER FOR RELIEF
19
           WHEREFORE, the Court should enter judgment in favor of Plaintiff and
20   against Defendant for:
21         (1) Statutory and actual damages;
22         (2) Attorney’s fees, litigation expenses and costs of suit;
23
           (3) Such other and further relief as the Court deems proper.
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 1                                         RESPECTFULLY SUBMITTED,
 2     DATED: April 10, 2014               PRICE LAW GROUP APC
 3
 4
                                         By:                              _
 5                                               G. Thomas Martin, III
 6
                                                 Attorney for Plaintiff

 7
 8                             DEMAND FOR JURY TRIAL
 9         PLEASE TAKE NOTICE that Plaintiff, MARIA ARCHILA, demands trial
10   by jury in this action.
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                                  COMPLAINT FOR DAMAGES
